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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   10/20/2020


M.G., et al.,

                                            Plaintiffs,               17-CV-07612 (RA)(SN)

                          -against-                                     DISCOVERY
                                                                     CONFERENCE ORDER
NYC DEPARTMENT OF EDUCATION, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        A conference to discuss the discovery issues raised by the parties is scheduled for

Monday, October 26, 2020, at 2:30 p.m. At that time, the parties shall call (877) 402-9757 and

enter access code 7938632 #.

SO ORDERED.



DATED:           October 20, 2020
                 New York, New York
